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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,         Case No. 1:20-cv-03010-APM
 v.                                                HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.

 STATE OF COLORADO, et al.,

                               Plaintiffs,         Case No. 1:20-cv-03715-APM
 v.                                                HON. AMIT P. MEHTA
 GOOGLE LLC,

                            Defendant.


              NON-PARTY VERIZON’S STATEMENT REGARDING
        THE CONFIDENTIALITY OF THE TESTIMONY OF BRIAN HIGGINS

       Non-Party Verizon respectfully submits this statement in support of a narrow request to

keep certain limited testimony of Verizon executive Brian Higgins under seal to avoid the

potentially prejudicial release of sensitive, high-level internal discussions between senior

executives. Verizon’s proposal, which the DOJ opposes, is consistent with the Hubbard factors

and the Court’s guidance.

       Mr. Higgins testified on September 18 about his role as Senior Vice President of Device

Marketing and Product through both a public session and a sealed, closed-door session, as

permitted by the Parties. His confidential testimony largely focused on Verizon’s negotiations

with Google and the resulting execution of a revenue share agreement in 2021. As shown by the

transcript emailed to the Court yesterday evening (October 9), Verizon has strictly adhered to the
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Court’s guidance to non-parties and from the lengthy closed-door session has requested to only

redact the limited portions falling within the categories identified by the Court (e.g., “project

names,” “internal financial numbers,” and certain “high-level discussions between senior

executives about potential partnerships”). Oct. 4, 2023 Trial Tr. 4366:9-4368:13.

       Of the limited testimony Verizon seeks to redact, the DOJ has objected to two portions—

both of which contain competitively sensitive internal discussions among Verizon’s executives

about its negotiation with Google. These specific lines track the precise internal statements of Mr.

Higgins, Mr. Sampath (at the time the Chief Financial Officer of Verizon Media Group), and Mr.

Dunne (at the time the Chief Executive Officer of Verizon’s Consumer Group) as they expressed

their interests, impressions, and action items as they assessed the revenue share amounts at issue

in the negotiation with Google. See Higgins Tr. 1063:19-24, 1064:8-12, 1064:17-20, 1064:22-

1065:1, 1065:10-15, 1065:17-24, 1066:3-4, 1066:13-14, 1066:21-22, 1067:2-9, 1069:1-5.

Significantly, Verizon seeks to keep sealed only these specific quoted statements made by its

executives due to their heightened sensitivity, while Verizon has agreed to make public the more

generalized descriptions of the same subject matter found throughout the rest of the transcript.

See, e.g., Higgins Tr. 1075:14-21, 1092:6-1095:24 (describing in general terms the negotiation

with Google regarding Yahoo!).

       As the Court can see from the Parties’ submission, while the DOJ maintains objections to

these particular senior executive discussions, it does not oppose the sealing of this same exact type

of information elsewhere in the transcript. See Higgins Tr. 1067:10-1068:21, 1097:1-21, 1099:3-

15 (reflecting the unobjected to portions that describe an internal assessment of the payment terms

discussed between Mr. Higgins and Mr. Dunne). As a third-party to this litigation, Verizon simply

asks that such sensitive communications reflecting internal senior executive assessments and

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decision-making be granted the same protections from public disclosure. Consistent application

of the Hubbard standard and the Court’s guidance warrant overruling the DOJ’s objections and

sealing just the two specific portions of testimony: one that describes a discussion between Mr.

Higgins with Mr. Sampath (at Higgins Tr. 1063-1065); and another that captures a few preceding

and trailing lines still describing a discussion between Mr. Higgins and Mr. Dunne to which the

DOJ does not otherwise object to sealing (at Higgins Tr. 1066-1067 and 1069).

       Non-party Verizon respectfully requests that the Court keep sealed these extremely limited

portions of internal, high-level executive discussions to avoid the public disclosure of such

potentially prejudicial information.


Dated: October 10, 2023                         Respectfully submitted,


                                                   /s/ Judith A. Zahid
                                                   Judith A. Zahid (pro hac vice)
                                                   ZELLE LLP
                                                   555 12th Street, Suite 1230
                                                   Oakland, CA 94607
                                                   Tel.: (415) 693-0700
                                                   jzahid@zellelaw.com

                                                   Attorneys for Non-Party Verizon




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 10, 2023, the foregoing document was electronically

submitted with the clerk of the court for the United States District Court, District of Columbia,

using the electronic case file system of the court. The electronic case file system sent a “Notice of

Electronic Filing” to all counsel of record.


                                                      /s/ Judith A. Zahid
                                                      Judith A. Zahid




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